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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

SHERIDON SHELBY, §
§
Plaintiff, §
§ Civil Action NO. 318-CV0532-B
v. §
§
KWIK KAR/GUIDE STAR, §
§
Defendants. §

ORDER GRANTING KWIK INDUSTRIES’ MOTION TO VACATE ENTRY OF
DEFAULT AND MOTION TO DISMISS

Before the Court is KWik Industries, Inc.’s Motion to Vacate Entry of Default and Motion
to Disrniss (“Motion”) (Dkt; 39) After considering the Motion, the Court is of the opinion that the

Motion should be GRANTED. It is therefore,

ORDERED that the Clerk’s Entry of Default (Dkt. 35) is vacated and PlaintifF s Complaint

against KWik Industries is hereby dismissed With prejudice

sIGNED; [20¢. 1 ,2018.
al J.B le
ite tates District Judge

